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     'AO 2458 (CASD) (Rev 8/1l)     Judgment in a Criminal Case
                Sheet I



                                               UNITED STATES DISTRICT COUR                                                                                 ~.   r
                                                                                                                      "';'
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                         v.                                           (For Offenses Committed On or After November I, 1987)

                  ARMANDO ESTEBAN RAMIREZ (2)                                         Case Number: IICRI915-LAB
                                                                                      JOHN OWEN LANAHAN
                                                                                      Defendant's Attorney
     REGISTRATION NO. 25557298

    D
     THE DEFENDANT:
     181 pleaded guilty to count(s) ONE OF THE INFORMAnON
     D      was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             NumberCs)
8 USC 1324(a)(2)(B)(iii)              BRINGING IN ILLEGAL ALIENS WITHOUT PRESENTAnON AND                                                    I
and 18 USC 2                           AIDING AND ABETTING




        The defendant is sentenced as provided in pages 2 through                 3          of this judgment. The sentence is imposed pursuant
 to the Sentencing Refonn Act of 1984.
  D The defendant has been found not guilty on count(s)
                                                             -------------------------------
  D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is DareD dismissed on the motion of the United States.

  181 Assessment: $100.00 - PAYABLE WITHIN 180 DAYS

  181 No fine                                         D Forfeiture pursuant to order filed                                      , included herein.
                                                                                                    ---------
       IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notilY the court and United States attorney of any material change in the defendant'S economic circumstances.

                                                                               OCTOBER 3, 2011




                                                                                                      ALAN BURNS
                                                                               UNITED STATES DISTRICT JUDGE

                                                                                                                                                11CR1915-LAB
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AO 24.58 (CASD) (Rev. 8111) Judgment in a Criminal Case
            Sheet 2 •• Probation
                                                                                                             Judgment-Page       2     of __3_ __
DEFENDANT: ARMANDO ESTEBAN RAMIREZ (2)
CASE NUMBER: llCR1915-LAB                                                                             •
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
 5 YEARS (with time served)

The defendant shall not commit another federal, state, or local crime.
For offenses committed 011 or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)
       The defendant shall not possess a Ilfearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 30fthe DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
         of each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use,distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.


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        AO 2458 (CASO) (Rev. 8111) Judgment in a Criminal Case
                   Sheet 3 Special Conditions


       DEFENDANT: ARMANDO ESTEBAN RAMIREZ (2)
       CASE NUMBER: llCR1915-LAB
                                                                                                   ..    Judgmel)t~Page   --l..- of _....;;;.3_ _




                                              SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner; failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the
    premises may be subject to searches pursuant to this condition.


o officer
  If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
          with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   The defendant shall violate no laws, federal, state and local, minor traffic excepted.
o Not associate with undocumented aliens or alien smugglers.
181 Follow all rules of the RRC.
o Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Remain at the RRC between the hours of 10:00 P.M. and 7:00 A.M., except while working at verifiable employment, attending religious
    services, or undergoing medical treatment.




o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
o probation
  Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
            officer.
181 Seek and maintain full time employment and/or schooling or a combination of both.
181 Court recommends RRC in Vista, CA. The defendant shall report to RRC within one month or as directed by the probation officer.
o Complete              hours of community service in a program approved by the probation officer within
181 Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of 6 months (punitive)
181 Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. The defendant shall
    be tested once. Probation to terminate testing if no dirty test is reported.




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